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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                              :       Hon. John Michael Vazquez
                                                      :
       v.                                             :       Crim. No. 20-578 (JMV)
                                                      :
JEFFREY ANDREWS,                                      :
CHAD BEENE,                                           :
ADAM BROSIUS, and                                     :
ROBERT SCHNEIDERMAN                                   :


 BEENE’S OPPOSED MOTION FOR PRETRIAL NOTICE OF 404(B) EVIDENCE

TO THE HONORABLE JUDGE OF SAID COURT:

        CHAD BEENE, by and through his undersigned counsel, and respectfully files his

Motion for Pretrial Notice of 404(b) Evidence, and for good cause would show the following:

                                   SUMMARY OF MOTION

        Beene requests that the Court order the Government to give notice of and produce any

evidence of other crimes, wrongs, or acts (404(b) Evidence) it intends to introduce during trial

at least 14 days before trial.

                                 ARGUMENT & AUTHORITIES

        1.      Evidence of a crime, wrong, or other act is not admissible to prove a person’s

character in order to show that on a particular occasion the person acted in accordance with the

character. Fed. R. Evid. 404(b)(1). However, the Government may seek to admit this evidence

for another purpose, such as proving motive, opportunity, intent, preparation, plan, knowledge,

identity, absence of mistake, or lack of accident. Fed. R. Evid. 404(b)(2). A defendant may

request, and the Government must provide, reasonable notice before trial of any such evidence

it intends to offer at trial. Fed. R. Evid. 404(b)(2)(A),(B). Sufficient pretrial notice will aid the

Court in determining at the threshold, whether such evidence should be excluded because of
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its unfair prejudicial quality, a concern acknowledged in U.S. v. Huddleston, 485 U.S. 681, 108

S. Ct. 1496, 99 L.Ed.2d 771, 782 (1988); United States v. Giampa, 904 F. Supp. 235, 283 (D.

NJ 1995).

      2.        Beene requests that the Court order the Government to provide written notice

at least 14 days before trial of any evidence of a crime or wrong it may seek to admit to prove

motive, opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or lack

of accident. At least 14 days-notice prior to trial would allow reasonable time for the Court to

hear arguments of counsel and determine whether such evidence should be excluded because

of its unfair prejudicial quality. Id.

           WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully prays that this

motion be in all things GRANTED.

Dated: December 15, 2021


                                              Respectfully submitted,

                                              GREGOR | WYNNE | ARNEY, PLLC

                                              By: /s/ Michael J. Wynne*
                                              Michael J. Wynne

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                                              COUNSEL FOR CHAD BEENE




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                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of this document was served upon counsel of record on
this 15th day of December 2021.

                                                     By: /s/ Michael J. Wynne*
                                                        Michael J. Wynne


                             CERTIFICATE OF CONFERENCE

       I certify that I have communicated with lead counsel for the United States and that the
United States is opposed to this motion.

                                                     By: /s/ Michael J. Wynne*
                                                         Michael J. Wynne




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